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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7        LUCINDA ROSE MOSNA,                              Case No. 23-cv-02647-LJC
                                                         Plaintiff,
                                   8
                                                                                             ORDER DIRECTING PLAINTIFF TO
                                                   v.                                        RESPOND TO ORDER TO SHOW
                                   9
                                                                                             CAUSE
                                  10        KILOLO KIJAKAZI, et al.,
                                                                                             Re: ECF No. 13
                                                         Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13            On November 8, 2023, the Court issued an order to show cause why this action should not

                                  14   be dismissed for failure to prosecute (Order to Show Cause), after Plaintiff Lucinda Rose Mosna

                                  15   failed to file her motion for summary judgment by the Court’s deadline of September 25, 2023.

                                  16   ECF No. 13. The Court ordered that the parties respond to the Order to Show Cause by filing

                                  17   either a joint stipulated schedule or separate responses no later than November 22, 2023. Id. The

                                  18   parties did not file a joint stipulated schedule. Instead, on November 22, 2023, Plaintiff filed her

                                  19   Motion for Summary Judgment. ECF No. 14. Plaintiff’s Motion for Summary Judgment,

                                  20   however, does not respond to the Order to Show Cause or contain any explanation for why

                                  21   Plaintiff failed to meet the Court’s September 25, 2023 deadline by almost two months.

                                  22   Defendant Kilolo Kijakazi did not file her own separate response.

                                  23            Plaintiff is hereby directed to file a response to the Order to Show Cause no later than

                                  24   seven days from the date of this Order, which explains the reasons behind the delay in filing her

                                  25   Motion for Summary Judgment.

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                                   1   If Defendant wishes to respond, she may file her own response no later than four days after

                                   2   Plaintiff’s response.

                                   3   IT IS SO ORDERED.

                                   4   Dated: December 7, 2023

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                                                                                                  LISA J. CISNEROS
                                   7                                                              United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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